      Case: 1:24-cv-02385 Document #: 53 Filed: 07/10/24 Page 1 of 2 PageID #:1516




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 RYAN CONNERS,

          Plaintiff,                                          Case No.: 1:24-cv-02385

 v.                                                           Judge Virginia M. Kendall

 THE PARTNERSHIPS AND UNINCORPORATED                          Magistrate Judge Young B. Kim
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                  57                                      freecoco


DATED: July 10, 2024                                  Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      33 W. Jackson Blvd., #2W
                                                      Chicago, Illinois 60604
                                                      Telephone:312-971-6752
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF




                                                  1
    Case: 1:24-cv-02385 Document #: 53 Filed: 07/10/24 Page 2 of 2 PageID #:1517




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 10, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt




                                                  2
